Case 1:20-cv-10914-TLL-PTM ECF No. 11, PageID.494 Filed 11/09/20 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


SANDRA SCHROEDER,

                                Plaintiff(s),        Civil Action No. 20-cv-10914
                                                     Hon. Thomas L. Ludington\
v.                                                   Mag. Judge Patricia T. Morris

COMMISSIONER OF SOCIAL SECURITY,

                                Defendant(s).

________________________________/

           ORDER REGARDING CONSENT FOR SOCIAL SECURITY CASES

        In the interests of the prompt, efficient, and effective adjudication of this case, the parties

are ORDERED to discuss whether they are willing to consent, under 28 U.S.C. § 636(c), to

conducting all further proceedings in this case before the assigned Magistrate Judge. If both

parties consent to proceed before the Magistrate Judge, counsel for Defendant must, within two

weeks of the date of this order, file a fully executed Notice, Consent and Reference of a Civil

Action to a Magistrate Judge form on the docket under Notices, Consent and Reference of a

Civil Action to a Magistrate Judge. A copy of the consent form is attached to this order (and is

also available in fillable format at:

https://www.mied.uscourts.gov/PDFFIles/Notice_Consent_Ref_MJ_RE.pdf ).

        If such a form is filed, the Court will review it and enter a reference order and all further

proceedings will be conducted before the Magistrate Judge. Any appeal of the Magistrate

Judge’s decision would be taken directly to the United States Court of Appeals for the Sixth

Circuit.
Case 1:20-cv-10914-TLL-PTM ECF No. 11, PageID.495 Filed 11/09/20 Page 2 of 3




       If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint notice on the docket, within two weeks of the date

of this order, advising the Court that the parties do not consent, but without disclosing the

identity of the party or parties who do not consent.

       The parties are free to withhold consent without negative consequences.


Dated: November 9, 2020                                s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       UNITED STATES DISTRICT JUDGE




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Case 1:20-cv-10914-TLL-PTM ECF No. 11, PageID.496 Filed 11/09/20 Page 3 of 3




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